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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Lorena Jenkinsen,                                :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                   Civil Action No.: 1:14-cv-12870-RGS
                                                 :
UNCI LLC; and DOES 1-10, inclusive,              :
                                                 :
                                                 :
                      Defendants.                :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: October 1, 2014

                                                  Respectfully submitted,

                                                  PLAINTIFF, Lorena Jenkinsen

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 1, 2014, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
